         Case 1:21-cv-03354-BAH Document 116 Filed 12/06/23 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 RUBY FREEMAN, et al.,

                        Plaintiffs,                Civil Action No. 21-3354 (BAH)

                        v.                         Chief Judge Beryl A. Howell

 RUDOLPH W. GIULIANI,

                        Defendants.




             RESPONSE TO MINUTE ORDER DATED DECEMBER 5, 2023

       Giuliani to the Court’s December 5, 2023 Minute Order (“Minute Order”) as follows:

       Giuliani’s counsel confirms that Giuliani concurs in counsels representations at the pretrial

conference that: (1) defendant does not object and will assert no objection at trial to plaintiffs'

deposition designations, set forth in the [115] First Amended JPTS, see ECF No. 115 at 8-11, and

(2) defendant withdraws his objections, raised in the parties' initial JPTS, see id., App. E, Def.'s

Objs. Pls.' Jury Instr. at 3-4, to plaintiffs' proposed jury instructions regarding "Certain Matters

Already Decided" and "Defamation.", reserving the right, of course, to challenge the Court’s

underlying Sanctions Orders that give rise to those instructions, the propriety of the default

judgment, and the propriety of a jury trial on appeal. However, Giuliani, assuming the Court’s

prior Orders stand on appeal, does not object to those jury instructions as worded.



Date: December 6, 2023
                                              Respectfully submitted,

                                              By: /s/ Joseph D. Sibley IV
         Case 1:21-cv-03354-BAH Document 116 Filed 12/06/23 Page 2 of 2




                                                      CAMARA & SIBLEY L.L.P.

                                                        Joseph D. Sibley IV
                                                        DC Bar ID: TX0202
                                                        1108 Lavaca St.
                                                        Suite 110263
                                                        Austin, TX 78701

                                                        Telephone: (713) 966-6789
                                                        Fax: (713) 583-1131
                                                        Email: sibley@camarasibley.com

                                              ATTORNEYS FOR RUDOLPH GIULIANI


                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 5th day of December, 2023, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system, which I understand to have caused service
on all counsel of record.


                                              /s/ Joseph D. Sibley IV
                                              Joseph D. Sibley I




                                                 2
